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6                IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

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9    LAWRENCE ROBINSON,                )       No. CV-F-02-5418 OWW
                                       )       (No. CR-F-97-5129 OWW)
10                                     )
                                       )       ORDER DENYING PETITIONER'S
11                    Petitioner,      )       MOTION TO VACATE JUDGMENT
                                       )       (Doc. 4)
12              vs.                    )
                                       )
13                                     )
     UNITED STATES OF AMERICA,         )
14                                     )
                                       )
15                    Respondent.      )
                                       )
16                                     )

17        Petitioner Lawrence Robinson moves to vacate the judgment

18   entered on October 23, 2007 denying his motion to vacate, set

19   aside or correct sentence pursuant to 28 U.S.C. § 2255.

20   Petitioner, relying on Rule 60(b)(4) and (6), Federal Rules of

21   Civil Procedure, contends that he is entitled to vacation of the

22   judgment because the Court failed to address the merits of his

23   motions for post-conviction discovery.

24        Petitioner's motion to vacate is without merit and is

25   DENIED.   The Memorandum Decision and Order filed on October 23,

26   2007 expressly denied Petitioner's motions for post-conviction

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1    discovery because that discovery would not have supported

2    Petitioner's claim that Videotronics was not a business operating

3    in interstate commerce.      Because the Court addressed the motions

4    for post-conviction discovery, there is no basis to vacate the

5    judgment.

6          IT IS SO ORDERED.

7    Dated:   January 7, 2008               /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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